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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


 MICHAEL WILLIAMS, et al.

               Plaintiffs,                  Case No. 22-cv-3773

         v.                                 Judge Ronald A. Guzman
                                            Chief Magistrate Judge Young B.
 CITY OF CHICAGO, et al.,                   Kim

               Defendants.




                  JOINT INITIAL STATUS REPORT AND
                     PROPOSED DISCOVERY PLAN


        All parties, by and through their undersigned counsel, submit this joint

initial status report and proposed discovery plan, pursuant to this Court’s

Order of October 24, 2022 (ECF No. 37) and subsequent Orders entered in this

case.

Initial Conference

        1.    The parties advise the Court that on January 12, 2023 they held

an initial conference pursuant to Rule 26(f).

        2.    The parties further advise the Court that they have discussed the

prospects for early settlement of all or part of this case and do not believe there

is a realistic prospect of settlement of any claims at this time.
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      3.       The parties discussed and agree that a Court-ordered protective

order governing confidential information exchanged in discovery is appropriate

in this case, as is a Qualified Protective Order that complies with HIPAA

requirements. The parties have not yet reached agreement as to any potential

modifications to the Court’s Model Confidentiality Order. On or before

February 24, 2023, the parties will submit appropriate motions (or, if they are

in agreement, a joint motion) for such confidentiality orders in accordance with

the Court’s Standing Order on Confidentiality or Protective Orders and Filing

Material Under Seal.

      4.       The parties do not at this time anticipate further amendments of

the pleadings or joinder of additional parties. Plaintiffs, however, reserve their

right under Rule 15(a)(1)(B) to amend their pleading within 21 days after

service of Defendants’ motions under Rule 12(b)(6). Any amendments

thereafter will be made on consent, with the Court’s leave, or as otherwise

provided by the Rules.

Initial Disclosure and Discovery Schedule

      5.       The parties have discussed the subject matter, timing, sequence,

and manner of discovery, including with respect to electronically-stored

information.

      6.       None of the parties have thus far made initial disclosures

pursuant to Rule 26(a). The parties propose that Rule 26(a)(1) disclosures shall

be made by March 3, 2023.




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      7.        Defendants City of Chicago and Superintendent Brown (the “City

Defendants”) request that the Court limit the scope of the Rule 26(a)(1)

disclosures to the issues raised in Plaintiffs Williams, Ortiz, and Scruggs’

claims against the Individual Defendants and defer disclosures related to the

Monell and ICRA claims as further explained in paragraph 12, below. Plaintiff

opposes any delay of initial disclosures and intends to proceed to discovery on

all claims.

      8.        Plaintiffs propose that fact discovery close on July 5, 2024.

      9.        In response to Plaintiffs’ proposal, the Individual Defendants

intend to file a motion for limited stay of discovery until the resolution of their

motion to dismiss. Plaintiff objects to such a motion.

      10.       Individual Defendants propose the following briefing schedule on

the aforementioned motion for limited to stay:

            •   motion to be filed by March 3, 2023;

            •   response by March 17, 2023; and

            •   reply by March 31, 2023.

      11.       Plaintiffs do not agree with Individual Defendants’ proposal,

which delays briefing on a motion to stay until after initial disclosures and

briefing on the motion to dismiss are complete. Plaintiffs interpret this Court's

order to mean that discovery is presumptively open unless/until the Court

enters an order staying discovery. See Minute Entry, ECF No. 53 (“The Court

does not typically stay discovery during the pendency of motions to dismiss.”).




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If Individual Defendants choose to file a motion to stay discovery, Plaintiffs

will respond to it.

       12.    The City Defendants intend to file a Motion to Bifurcate and to

Stay Discovery of Plaintiffs’ Monell claims, ICRA claim, and class action

certification pending the resolution of Plaintiffs’ claims against Individual

Defendants. In light of the City Defendants’ pending motion to dismiss that

challenges Plaintiffs’ standing to pursue their claims against the City and the

sufficiency of Plaintiffs’ allegations against the City’s Defendants, the City

requests that the Court set a deadline for presentment of the motion to

bifurcate and stay upon resolution of their motion to dismiss.

       13.    Plaintiffs will oppose any bifurcation and stay of discovery of the

claims against the City Defendants. Plaintiffs also oppose the City’s proposal

that the Court set a deadline for its planned motion to bifurcate and stay

discovery until after their motion to dismiss has been resolved.

       14.    The parties further propose that the Court set a status hearing

for 30 days before the close of discovery at which time the parties anticipate

that they will have a better understanding of the experts that will be disclosed

and the time needed to make such disclosures.

Consent to Proceed Before Magistrate

       15.    The parties do not consent to have the currently-designated

United States Magistrate Judge conduct all proceedings in this case.




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                                    Respectfully Submitted,

/s Shneur Nathan                    /s Jonathan Manes
Shneur Nathan, Avi Kamionski        Jonathan Manes
Helen O’Shaughnessy, and            Alexa Van Brunt
Neha Locke                          MacArthur Justice Center
Nathan & Kamionski LLP              160 E. Grand Ave., 6th Fl.
33 W. Monroe, Suite 1830            Chicago, Illinois 60615
Chicago, Illinois 60603             (312) 503-0012
(312) 612-1955                      jonathan.manes@macarthurjustice.org
snathan@nklawllp.com

Attorneys for Individual
Defendants

/s Michael P. Sheehan               Elizabeth Mazur
Michael P. Sheehan                  Hughes Socol Piers Resnick & Dym
Allan T. Slagel                     70 W. Madison Street, Suite 4000
Barton O’Brien                      Chicago, IL 60602
Ioana M. Guset                      (312) 580-0100
Yeoeun C. Yoon                      emazur@hsplegal.com
TAFT STETTINIUS AND HOLLISTER
LLP                                 Attorneys for Plaintiffs
111 East Wacker Drive, Suite 2800
Chicago, Illinois 60601
Telephone: (312) 527-4000
Facsimile: (312) 527-4011
Email:
      msheehan@taftlaw.com
              aslagel@taftlaw.com
              bobrien@taftlaw.com
              iguset@taftlaw.com
              yyoon@taftlaw.com

Attorneys for City and
Superintendent David Brown


Dated: January 20, 2023




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